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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN


In re:
                                                                 Chapter 13
Andrea J. Averill,
                                                                 Case No. 14-04375
                        Debtor(s).
                                                                 Hon. John T. Gregg
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                                     NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that the law firm of FABRIZIO & BROOK, P.C. appears on behalf of

Creditor, Wells Fargo Dealer Services, in this action and requests that all further pleadings and

correspondence filed regarding this matter be sent to the undersigned.

                                                 FABRIZIO & BROOK, P.C.


DATED: October 16, 2014                           /s/ John D. Stoddard
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